Case 3:13-cr-00217-D Document 118 Filed 12/20/16   Page 1 of 7 PageID 494
Case 3:13-cr-00217-D Document 118 Filed 12/20/16   Page 2 of 7 PageID 495
Case 3:13-cr-00217-D Document 118 Filed 12/20/16   Page 3 of 7 PageID 496
Case 3:13-cr-00217-D Document 118 Filed 12/20/16   Page 4 of 7 PageID 497
Case 3:13-cr-00217-D Document 118 Filed 12/20/16   Page 5 of 7 PageID 498
Case 3:13-cr-00217-D Document 118 Filed 12/20/16   Page 6 of 7 PageID 499
Case 3:13-cr-00217-D Document 118 Filed 12/20/16   Page 7 of 7 PageID 500
